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                                                         U.S. DEPARTMENT OF JUSTICE
                                                         Federal Bureau of Prisons
                                                         Metropolitan
                                                                \     Detention Center


                                                           80 29h Street                                      2/2/21
                                                           Brooklyn, New York 11232



January 25, 2021


BY ECF
                                                                                      Having considered the request
                                                                                      submitted by the Bureau of Prisons
The Honorable Alison J. Nathan                                       2/2/21           (“BOP”) that the Court vacate its
United States District Court
                                                                                      January 15, 2021 Order, Dkt. No. 117,
Southern District of New York
                                                                                      as well as the Government’s and the
40 Foley Square
New York, NY 10007                                                                    Defendant’s responses, Dkt. Nos. 129,
                                                                                      130, the Court hereby DENIES the
                                                                                      BOP’s request to vacate the Order.
     Re:      United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)                    SO ORDERED.
              Ghislaine Maxwell, Reg. No. 02879-509


Dear Judge Nathan:


     This letter is written in response to Order granted on January 15, 2021, concerning Ghislaine
Maxwell, Reg. 02879-509., an inmate currently confined at the Metropolitan Detention Center (”MDC”) in
Brooklyn, New York. The MDC Brooklyn respectfully requests that Your Honor vacate the Order given
MDC Brooklyn was not given the opportunity to object to defense counsel’s claims, although the objection
had been reiterated to the U.S. Attorney’s Office numerous times.

      Defense counsel expressed various concerns regarding Ms. Maxwell’s confinement limiting her
access to discovery. However, Ms. Maxwell has received a significant amount of time to review her
discovery. On November 18, 2020, the Government provided the MDC Brooklyn with a laptop for Ms.
Maxwell to use to review discovery. Ms. Maxwell has been and will continue to be permitted to use that
laptop to review her discovery for thirteen (13) hours per day, five (5) days per week. In addition to the
Government laptop, she has access to the MDC Brooklyn discovery computers. Although defense counsel
has indicated that the MDC Brooklyn discovery computers are not equipped to read all of her electronic
discovery, the computers are capable of reviewing most of the electronic discovery. Despite defense
counsel’s claim that Ms. Maxwell’s lacks sufficient time to fully review her discovery, her consistent use of
Government laptop and MDC Brooklyn’s discovery computers undercuts this claim.
      Moreover, Ms. Maxwell continues to have contact with her legal counsel five (5) days per week, three
(3) hours per day via video-teleconference and via telephone; this is far more time than any other MDC
inmate is allotted to communicate with their attorneys.
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       We respectfully request that Your Honor vacate the order of January 15, 2021, and allow the
institution to resume the prior schedule of laptop access, Monday through Friday, 7:00 AM – 8:00 PM.



Respectfully submitted,


/s/ Sophia Papapetru

Sophia Papapetru
Staff Attorney
MDC Brooklyn
Federal Bureau of Prisons
